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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO
                              WESTERN DIVISION AT DAYTON

JOHN J. SCACCIA,

         Plaintiff,                                   Case No. 3:21cv29

vs.

LYFT, INC.,                                           District Judge Michael J. Newman
                                                      Magistrate Judge Peter B. Silvain, Jr.
      Defendant.
______________________________________________________________________________

  ORDER: (1) REQUIRING PRO SE PLAINTIFF AND COUNSEL FOR DEFENDANT
     TO MEET AND CONFER REGARDING THEIR RULE 26(f) REPORT; AND,
     (2) REQUIRING THE PARTIES’ TO FILE THEIR RULE 26(f) REPORT BY
                             NOVEMBER 19, 2021
______________________________________________________________________________

         In accordance with the mandates of Fed. R. Civ. P. 26(f), Plaintiff and Defendant’s counsel

shall meet and confer in order to file their Rule 26(f) report by November 19, 2021. Information

and forms can be found on the Court’s website at https//:www.ohsd.uscourts.gov. After the parties

file their Rule 26(f) report, the Court will enter a scheduling order pursuant to Fed. R. Civ. P.

16(b).

         IT IS SO ORDERED.


October 18, 2021                                      s/Michael J. Newman
                                                      Hon. Michael J. Newman
                                                      United States District Judge
